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 8                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9                                      SAN FRANCISCO DIVISION
10
      LIN ZHU,                                             Case No. 3:17-CV-07121-MEJ
11
                                    Plaintiff,             NOTICE OF SETTLEMENT
12             v.
13
      SUTTELL & HAMMER, APC, F/K/A
14    SUTTELL, HAMMER & WHITE, APC, a
      California corporation, and ERIN E.
15    PATTERSON, individually and in her official
      capacity;
16
17                                  Defendants.

18             COMES NOW the Plaintiff, LIN ZHU, by and through her counsel, Fred W. Schwinn of the
19
     Consumer Law Center, Inc., and notifies the Court that this case has been settled. The parties have
20
     entered into a settlement agreement which provides for payment no later than August 24, 2018. Upon
21
     payment of the settlement amount, the parties will file a Stipulation of Dismissal with prejudice in this
22
23   matter.

24                                                       CONSUMER LAW CENTER, INC.
25
26   Dated: July 31, 2018                                By: /s/ Fred W. Schwinn
                                                                 Fred W. Schwinn, Esq.
27                                                               Attorney for Plaintiff
                                                                 LIN ZHU
28


     NOTICE OF SETTLEMENT                                                     Case No. 3:17-CV-07121-MEJ
